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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                 NORTHERN DIVISION

                                                 :
Stephen Colton,                                  :
                                                 :
                                                 :
                      Plaintiff,                 :
                                                   Civil Action No.: 1:11-cv-02184-MJG
       v.                                        :
                                                 :
Asset Recovery Associates; and DOES 1-10,        :
inclusive,                                       :
                                                 :
                                                 :
                      Defendant.                 :

                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 30 days.


Dated: September 20, 2011

                                             Respectfully submitted,
                                             By_/s/ Forrest E. Mays_________
                                             Forrest E. Mays (Bar No. 07510)
                                             1783 Forest Drive, Suite 109
                                             Annapolis, MD 21401
                                             Telephone: (410) 267-6297
                                             Facsimile: (410) 267-6234
                                             Email: mayslaw@mac.com

                                             Of Counsel To
                                             LEMBERG & ASSOCIATES L.L.C.
                                             A Connecticut Law Firm
                                             1100 Summer Street, 3rd Floor
                                             Stamford, CT 06905
                                             Telephone: (203) 653-2250
                                             Facsimile: (877) 795-3666
                                             ATTORNEYS FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 20, 2011, a true and correct copy of the foregoing
Notice of Settlement was served electronically by the U.S. District Court District of Maryland
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                            By_/s/ Forrest E. Mays__________________

                                                    Forrest E. Mays
